Case 2:23-cv-00631-KKE   Document 114-18   Filed 05/01/24   Page 1 of 15




                     Exhibit 18
                     Case 2:23-cv-00631-KKE         Document 114-18       Filed 05/01/24     Page 2 of 15

    Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

    The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

     Claim Language                                                      Momcozy S12 Pro
Claim 29
                               The Momcozy S12 Pro is a breast pump device. The Momcozy website states that the Momcozy S12 Pro is
                               a “Wearable Breast Pump.” (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump.)

                               The Momcozy S12 Pro is a breast pump device that is configured as a self-contained device, as shown
                               below.




     A breast pump device
     that is configured as a
     self-contained, in-bra
29.P
     wearable device, the
     breast pump device
     comprising:




                                                               1
                        Case 2:23-cv-00631-KKE        Document 114-18        Filed 05/01/24     Page 3 of 15

   Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

       The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

        Claim Language                                                       Momcozy S12 Pro
                                 The Momcozy S12 Pro is an in-bra wearable device.




                                                 (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump.)

                                 The website states that “this bra-fit wearable breast pump allows for ultimate free pumping on the go for
                                 multitasking and body motion to exercise, which is a shortcut for moms to get the balance of nursing babies
                                 and regain normal lives.” (Id.) Additionally, the Momcozy website discloses that “[Momcozy’s] hands-free
                                 breast pump is designed to be worn with your standard nursing bra.” (Id.)

         a self-contained, in-   See 29.P.
29.1     bra wearable device
         comprising:




                                                                  2
                          Case 2:23-cv-00631-KKE         Document 114-18         Filed 05/01/24     Page 4 of 15

   Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

       The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

        Claim Language                                                          Momcozy S12 Pro
         a housing that            The Momcozy S12 Pro includes a housing that includes a rechargeable battery, a power charging circuit,
         includes:                 control electronics, and a USB charging socket.

         a rechargeable
         battery,

         a power charging
         circuit for controlling
         charging of the
         rechargeable battery,

         control electronics
         powered by the
         rechargeable battery,                                           Momcozy S12 Pro Quick guide, p. 2
29.2
         a pump powered by         The Momcozy S12 Pro housing includes a rechargeable battery. For example, the Momcozy S12 Pro user
         the rechargeable          guide states that “[w]hen charging, the battery indicator lights up one by one, displaying increasing battery
         battery and               percentage from 25%, 50%, 75%, to 100%.” (Momcozy S12 Pro User Guide, p. 13.)
         configured to generate
         negative air pressure,  On information and belief, the Momcozy S12 Pro housing includes a power charging circuit for controlling
         and                     charging of the rechargeable battery and control electronics powered by the rechargeable battery because
                                 the Momcozy S12 Pro is rechargeable and it has buttons that change the operation of the pump.
         a Universal Serial Bus (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump.)
         (USB) charging
         socket for transferring The Momcozy S12 Pro housing includes a pump powered by the rechargeable battery and configured to
         power to the power      generate negative air pressure. The Momcozy S12 Pro user guide also identifies the housing has the “pump
         charging circuit and    motor,” and states that “[t[he breast pump has 9 suction levels to choose from.” (Momcozy, S12 Pro User
         the rechargeable        Manual, pp. 3, 5, 7.)
         battery;


                                                                     3
                Case 2:23-cv-00631-KKE        Document 114-18        Filed 05/01/24     Page 5 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                     Momcozy S12 Pro




                                                          Momcozy S12 Pro internal components.

                         The Momcozy S12 Pro housing includes a USB charging socket. As shown below, the Momcozy S12 Pro
                         includes a socket for receiving a USB cable. The Momcozy website also states that the “[c]harging port” is
                         “Type-C (Compatible with 5V 1A adapter)” referring to USB Type-C. (Id.) The charging port is shown
                         below:




                                         (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump.)


                                                          4
                        Case 2:23-cv-00631-KKE        Document 114-18       Filed 05/01/24     Page 6 of 15

   Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

       The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

        Claim Language                                                      Momcozy S12 Pro
                                 The Momcozy S12 Pro includes a breast shield made up of a breast flange and a nipple tunnel.




         a breast shield made
29.3     up of a breast flange
         and a nipple tunnel;




                                                (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump.)

                                 The Momcozy website indicates that the S12 Pro product includes a “silicone flange (24 mm).”
                                 (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump?variant=42641714741446.)

         a milk container that   The Momcozy S12 Pro includes a milk container that is configured to be attached to and removed from the
         is configured to be     housing. The Momcozy website clarifies that the S12 Pro product includes a “milk collector (180ml).”
29.4     attached to and         (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump?variant=42641714741446.)
         removed from the
         housing; and

                                                                 5
                Case 2:23-cv-00631-KKE        Document 114-18       Filed 05/01/24    Page 7 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                    Momcozy S12 Pro




                                         (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump.)




                                                         6
                Case 2:23-cv-00631-KKE        Document 114-18       Filed 05/01/24    Page 8 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                    Momcozy S12 Pro




                         The Momcozy S12 Pro Quick Guide and User Guide also illustrates removal and assembly of the housing
                         to the milk container. (Momcozy, S12 Pro Quick guide, p. 1; See also Momcozy, S12 Pro User Manual, pp.
                         9, 13.)




                                                         7
                Case 2:23-cv-00631-KKE        Document 114-18       Filed 05/01/24    Page 9 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                    Momcozy S12 Pro




                                                         8
                       Case 2:23-cv-00631-KKE          Document 114-18        Filed 05/01/24     Page 10 of 15

   Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

       The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

        Claim Language                                                        Momcozy S12 Pro
                                   The Momcozy S12 Pro includes a membrane that is configured to define a pumping chamber at least in part
                                   with an external surface of the housing.

                                   As shown below, the Momcozy S12 Pro includes a membrane.




         a membrane that is
         configured to define a
         pumping chamber at
29.5
         least in part with an
         external surface of the
         housing,




                                                   (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump.)

                                   The Momcozy website indicates that the S12 Pro product includes a “silicone diaphragm.”
                                   (https://momcozy.com/products/momcozy-s12-pro-wearable-breast-pump?variant=42641714741446)

                                   As shown below, the membrane is seated on a diaphragm holder that is fixed to an external surface of the
                                   housing to define a pumping chamber. The S12 Pro integrates the pumping chamber into the milk


                                                                    9
               Case 2:23-cv-00631-KKE        Document 114-18         Filed 05/01/24     Page 11 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                      Momcozy S12 Pro
                         container, but for clarity, the picture below shows the structure surrounding the pumping chamber as a
                         single component with the milk container removed.




                                                         10
               Case 2:23-cv-00631-KKE        Document 114-18       Filed 05/01/24    Page 12 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                    Momcozy S12 Pro




                                                        11
               Case 2:23-cv-00631-KKE        Document 114-18       Filed 05/01/24    Page 13 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                    Momcozy S12 Pro




                                                        12
               Case 2:23-cv-00631-KKE        Document 114-18       Filed 05/01/24    Page 14 of 15

Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

 Claim Language                                                    Momcozy S12 Pro




                                                        13
                        Case 2:23-cv-00631-KKE           Document 114-18        Filed 05/01/24      Page 15 of 15

       Exhibit 18 – U.S. Patent No. 11,413,380 – Infringement Claim Chart for Momcozy S12 Pro Product

        The Momcozy S12 Pro includes, literally or under the doctrine of equivalents, every element of claim 29 of the ’380 Patent.

           Claim Language                                                       Momcozy S12 Pro
                                    The Momcozy S12 Pro includes the membrane configured to deform in response to changes in air pressure
                                    caused by the pump to create negative air pressure in the nipple tunnel.

                                    The Momcozy S12 Pro User Guide also identifies that “[t[he breast pump has 9 suction levels to choose
                                    from.” (Momcozy, S12 Pro User Manual, p. 5.) On information and belief, when the pump is operated in
                                    the housing, it creates a change in air pressure that deforms the membrane to create negative pressure in the
                                    nipple tunnel.


           the membrane
           configured to deform
           in response to
           changes in air
 29.6
           pressure caused by the
           pump to create
           negative air pressure
           in the nipple tunnel.




20657266




                                                                     14
